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                                                 November 14, 2023

 VIA ECF

 Special Master the Honorable Thomas Vanaskie
 Stevens & Lee
 1500 Market Street, East Tower
 18th Floor
 Philadelphia, PA 19103


          Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                    Case No. 1:19-md-02875-RBK-JS



 Dear Special Master Vanaskie:

          This letter is to provide Defendants’ position with respect to the topics on the agenda for

 the Teleconference with Your Honor on November 16, 2023. The parties do not expect the need

 to discuss any confidential materials as part of these agenda items.

                1. Update on Losartan/Irbesartan PFS Drafts

          Defendants have prepared draft Plaintiff Fact Sheets (“PFSs”) for (1) Losartan and

 Irbesartan Consumer Economic Loss Plaintiffs; (2) Losartan Medical Monitoring Plaintiffs; and

 (3) Losartan and Irbesartan Third-Party Payor Plaintiffs. Those draft PFSs were provided to

 Plaintiffs’ counsel for review and comment. The parties held an initial meet and confer on the

 Third-Party Payor PFS, and Plaintiffs’ counsel subsequently provided Defendants with their

 proposed revisions. Defendants are collectively reviewing those revisions and are working to

 provide their response this week. Defendants anticipate that any additional meet and confers

 necessary on the Third-Party Payor PFS can be completed prior to the December 6th status


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 conference, and any disputes remaining regarding the content of the Third-Party Payor PFS will

 be ripe to be addressed with the Court at that status conference.

          Today, Plaintiffs’ counsel also provided Defendants with their proposed revisions to the

 Losartan and Irbesartan Consumer Economic Loss PFS and the Losartan Medical Monitoring PFS.

 Defendants are in the process of reviewing and evaluating those proposed revisions.

          Finally, and relatedly, in the interest of narrowing the claims at issue in the Losartan and

 Irbesartan Master Complaints (which were filed prior to the Court’s rulings on Defendants’

 motions to dismiss regarding the claims in the Valsartan Master Complaints) and to conserve the

 Parties’ and the Court’s resources by avoiding briefing motions to dismiss on the Master Losartan

 and Irbesartan Complaints that would be substantially similar to the prior briefing on the motions

 to dismiss filed by Defendants as to Plaintiffs’ Master Valsartan Complaints, the Parties are

 negotiating a potential Proposed Order on Motions to Dismiss that would streamline the dismissal

 of certain claims from the Master Losartan and Irbesartan Complaints while preserving all Parties’

 appellate rights. Presuming the Parties reach an agreement on the language of such a proposed

 order, Defendants anticipate that the draft will be ready to present to the Court for entry at or before

 the December 6th status conference.

               2. Update on the Status of Manufacturer Defendants’ Losartan/Irbesartan
                  Document Production

          As set forth below, each of the responding losartan and irbesartan manufacturer defendants

 have either already begun making rolling document productions or will begin to do so shortly,

 consistent with their discovery obligations as set forth in the proposed agreed order on losartan

 and irbesartan discovery negotiated by the parties at the August 3, 2023 Case Management

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 Conference, announced to the Court at that CMC, and submitted to Your Honor for entry on

 August 17, 2023. The manufacturer defendants have not received any communications from

 Plaintiffs addressing perceived deficiencies in these rolling productions or been asked to meet and

 confer over any potential modifications to the proposed order and schedule. However, in Plaintiffs’

 position statement submitted on October 30, 2023, in advance of the November 1st Case

 Management Conference, Plaintiffs included a request that the Court impose seven additional

 rolling production deadlines on the manufacturer defendants over the next four months. (See ECF

 No. 2524 at 1-2). Out of an abundance of caution, in the event Plaintiffs intend to reiterate this

 request, the manufacturer defendants will briefly address why this request is (1) not consistent –

 as Plaintiffs incorrectly suggest – with any prior valsartan discovery orders; (2) inconsistent with

 Your Honor’s ruling on specific rolling production deadlines for losartan core discovery; and

 (3) an attempt to renege on one of the key points Plaintiffs agreed to in August when the parties

 resolved the proposed losartan and irbesartan discovery schedule.

          First, despite Plaintiffs’ claim that the proposed deadlines would be “[j]ust as was done in

 the valsartan portion of discovery,” (id. at 3), at no stage of this litigation has this Court ever

 ordered bi-monthly rolling production deadlines. Monthly – not bimonthly – rolling productions

 were enforced during the latter portion of 2020 after significant delays and corresponding

 discovery deadline extensions caused by the COVID-19 pandemic. Similar extenuating

 circumstances do not exist at this time, and as the manufacturer-specific updates below

 demonstrate, imposing a host of additional deadlines is unnecessary to ensure the manufacturer

 defendants comply with their discovery obligations.


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          Second, Plaintiffs requested that the Court impose similar specific rolling production

 deadlines in 2022 in connection with losartan and irbesartan core discovery. Your Honor heard

 argument on this request and rejected it. (July 13, 2022 Hrg. Tr., 31:18-33:13). As noted during

 that argument, the type of repetitive production Plaintiffs seek will inevitably be counterproductive

 to the efficient and timely production of documents.

          Finally, the parties reached agreement on the specific losartan and irbesartan document

 production schedule shortly before the August 3rd CMC, and announced agreement on the terms

 of a proposed order which was jointly submitted to the Court on August 17, 2023. (See August 3,

 2023 Hrg. Tr., 8:12-9:17; S. Harkins 8/17/2023 Email, attached as Exhibit A). The proposed order

 specifically does not include rolling production deadlines. Plaintiffs’ attempt to add seven

 additional production deadlines at this stage of ongoing discovery, upending the schedule to which

 they agreed in the absence of any documented or even alleged production deficiencies, should be

 rejected.

          Aurobindo:

          Aurobindo has negotiated an extension of time to begin its rolling production of documents

 following irbesartan core discovery.

          Hetero:

          Hetero has confirmed the proposed search terms and relevant custodians with Plaintiffs.

 Hetero has agreed supplement the list of custodians and source additional custodians at Plaintiffs’

 specific request. Hetero is in process of conducting document review and will make its first

 production within the next week, and will continue to make document production on a rolling

 basis.
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          Sciegen:

          Sciegen made its initial production on Friday, November 10, 2023, and will continue to

 make rolling productions of documents in line with its discovery obligations.

          Teva:

          Teva has made one rolling document production and will be serving its second rolling

 production this week.

          Torrent:

          Torrent made its first rolling production of documents on October 31, 2023, and will

 continue to make rolling productions of materials in line with its discovery obligations.

          Vivimed:

          Vivimed has made one production of documents to date, anticipates making its second

 production this week, and will continue to make rolling productions of documents in line with its

 discovery obligations.

          ZHP:

          The ZHP defendants made their first rolling production to plaintiffs in July 2023 and have

 made additional rolling productions in August, September, and October. The ZHP defendants

 anticipate making their next rolling production this week.

               3. Agreed List of Losartan/Irbesartan NDCs

          Plaintiffs and responding Manufacturer Defendants stipulate that the list attached as

 Exhibit B reflects to the best of the information currently available to Plaintiffs and responding

 Manufacturer Defendants the National Drug Codes (NDC) associated with the Losartan and

 Irbesartan Manufacturer Defendants identified in Plaintiffs’ Master Complaints. See Plaintiff’s
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 Requests for Production of Documents to All API and Finished-Dose Manufacturing Defendants

 Regarding Losartan and Irbesartan Economic Loss Claims (ECF No. 2401).



                                                                  Respectfully submitted,

                                                                  /s/ Victoria Davis Lockard

                                                                  Victoria Davis Lockard


 cc:      Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
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